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From:              Jakub Madej <j.madej@lawsheet.com>
Sent:              Friday, May 8, 2020 2:09 PM
To:                Pat Noonan
Cc:                Colleen Davis; Anne-Marie Cicarella
Subject:           Madej v Yale Univ -- Second Set of RFA for Yale University
Attachments:       second-set-request-for-admission-for-yale-university.pdf


Dear Patrick,

I attach my second set of requests for admission for Yale University only. If you have trouble accessing the
file, it's available at the link below too.

www.lawsheet.com/second-set-request-for-admission-for-yale-university.pdf

I slightly changed the language of instructions in this set. This is because I purposefully don't use a formbook
but craft these instructions myself for this particular suit. I continually improve the language of my
requests, and design them to streamline our discovery process.

I cc'd Collen and Anne-Marie to this email, as Anne-Marie requested yesterday. I understand your team is
working remotely. I am happy to consider any other requests that I can easily and costlessly accommodate
but which make your life easier.

If you wish to confer about this, I am available via phone, as always.

Best,
Jakub

65 Dwight St | New Haven, CT 06511 | (646) 776-0066 | j.madej@lawsheet.com

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        m
            m




                                                          1
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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT
 __________________________________
 JAKUB MADEJ
                                                     CIVIL ACTION No. 3:20-cv-00133-JCH
          Plaintiff,

 v.
                                                     JURY TRIAL DEMANDED
 YALE UNIVERSITY, MARK SCHENKER
 JESSIE ROYCE HILL, MARVIN CHUN,
                                                     MAY 8, 2020
 PETER SALOVEY

          Defendants.

 __________________________________


                 PLAINTIFF’S SECOND SET OF REQUESTS FOR ADMISSION
                          FOR DEFENDANT YALE UNIVERSITY


         Plaintiff Jakub Madej requests, pursuant to Fed R Civ P 36, that you admit the following
matters in writing within 30 days of service, or by June 9, 2020. Every matter is deemed admitted
and conclusively established for the purpose of this action if you fail to respond within the allotted
time. If you believe you need an extension, and request it at least three days before the due date, I
will be sympathetic to a five days’ extension.



                                         DEFINITIONS
•     Consult Local Rule 26(a)-(d), if in doubt.


                                        INSTRUCTIONS
•     Sign and serve complete answers via email to jakub.madej@yale.edu, j.madej@lawsheet.com,
      and by fax to (203) 902-0070. If you are unable to access traditional fax, fax.plus and
      myfax.com offer inexpensive online fax service. Service by mail to the address below is
      appreciated but not necessary.
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                                           JAKUB MADEJ
                                        415 Boston Post Rd
                                            Ste 3-1102
                                        Milford, CT 06460

•   Use this file for your responses. Include the language stated in this document for verification
    of your answers. Denials must be sworn.
•   If you do not admit the matter, you must specifically deny it or state in detail why you cannot
    truthfully admit or deny it.
•   If you deny the matter, you must fairly respond to the substance of the matter.
•   If good faith requires you to qualify an answer or deny only a part of a matter, your answer
    must specify the part admitted and qualify or deny the rest.
•   You may only assert lack of knowledge or information as a reason for failing to admit or deny
    if you made reasonable inquiry and you cannot readily obtain information sufficient to enable
    you to admit or deny. State with particularity what reasonable inquiry you made into the
    matter.
•   The verification need not be notarized if the signature is hand-written. If you choose to notarize
    these answers, notarize.com provides online notary services at low cost.
•   If any request is objectionable, call counsel/plaintiff in order to attempt to narrow the question
    or avoid the objectionable portion. Discovery is supposed to proceed with minimal
    involvement of the court. Please consult Local Rule 37, Federal Rules 26 and 37, and Standing
    Order Relating to Discovery (Dkt. 9). Plaintiff strives to resolve genuine disputes informally
    and cooperatively.
•   Plaintiff will strive to provide written reminders to you before the thirty days’ period to ensure
    you do not accidentally miss the deadline.


                                    POSSIBLE RESPONSES
        Admitted.
        Denied. This statement is false because [the reason the statement is false].



                                                                                                    2
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 Admitted but only [qualification].
 I lack sufficient knowledge to answer the request because [the reason].




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                       SECOND SET OF REQUESTS FOR ADMISSION
                          FOR DEFENDANT YALE UNIVERSITY


                                     STATEMENTS TO ADMIT


        REQUEST No. 21: Yale University website 1 says “Yale University is committed to
conducting business ethically and complying with applicable federal and state laws and
regulations”.
        REQUEST No. 22: Yale University is committed to conducting business ethically and
complying with applicable federal and state laws and regulations.
        REQUEST No. 23: Document attached and marked as “Exhibit 1” is genuine.
        REQUEST No. 24: Document attached and marked as “Exhibit 2” is a genuine.
        REQUEST No. 25: Document attached and marked as “Exhibit 3” is genuine.
        REQUEST No. 26: Document attached and marked as “Exhibit 4” is genuine.
        REQUEST No. 27: Document attached and marked as “Exhibit 5” is genuine.
        REQUEST No. 28: On February 13, 2020, a current trustee of Yale University was a guest
speaker in a course, a syllabus of which is attached and marked as Exhibit 5.
        REQUEST No. 29: Document attached and marked as “Exhibit 6” is genuine.
        REQUEST No. 30: Document attached and marked as “Exhibit 7” is genuine.
        REQUEST No. 31: Document attached and marked as “Exhibit 8” is genuine.
        REQUEST No. 32: Document attached and marked as “Exhibit 9” is genuine.
        REQUEST No. 33: Document attached and marked as “Exhibit 10” is genuine.




Responses Dated: ___________ in New Haven, Connecticut.




1
 Link: https://your.yale.edu/work-yale/financial-management/university-auditing-quality-assurance/yale-
university-hotline/hotline.


                                                                                                          4
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                                        VERIFICATION
        I, [NAME OF OFFICER], act on behalf of the defendant Yale University in this action. I
have read the Second Set of Requests for Admission propounded to Yale University by plaintiff,
Jakub Madej, and my Response to the request. I am familiar with the contents of both.
        I declare under penalty of perjury that my answers are true and correct. I understand what
perjury is. I also understand that perjury is a crime under the laws of the United States. I am aware
that perjury is a felony punishable with a prison sentence of up to five years under 18 U.S.C. §
1621.


        Executed: [Time] in North Haven, Connecticut.
                                                                                 [Name of Officer]
                                                                         Hand Signature of Officer


                                                                 [Name of attorney for defendant]
                                                                            Attorney for Defendant




Dated: May 8, 2020 in Las Vegas, Nevada.


                                                              Respectfully submitted,
                                                              /s/ Jakub Madej

                                                              Jakub Madej
                                                              65 Dwight St
                                                              New Haven, CT 06511
                                                              Telephone: (203) 928-8486
                                                              Facsimile: (646) 776-0066
                                                              Fax: (203) 902-0070
                                                              Email: j.madej@lawsheet.com




                                                                                                   5
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                      EXHIBIT 1




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1106 Preserving Records for Legal
Purposes
Responsible Official: Vice President and General Counsel
Responsible Office: Office of the Vice President and General Counsel
Effective Date: August 30, 2011
Revision Date: August 30, 2011

Policy Sections
    1106.1 Obligation to Report Existing or Anticipated Legal Proceedings
    1106.2 Obligation to Preserve Legal Records
    1106.3 Responsibility of the Office of the General Counsel
    1106.4 Responsibility of Information Technology Services
    1106.5 Violations of this Policy

Scope
This policy applies to all University employees, including faculty, staff, part-time
employees, and student employees.

Reason for the Policy
Federal and state law require Yale employees to preserve potentially relevant
Yale records once they have reason to believe the records may be needed for
a legal proceeding, such as a lawsuit, a government investigation, or a
government audit. Failure to meet this obligation could result in civil or criminal
penalties against Yale and its employees. The purpose of this policy is to
establish requirements that will help Yale and its employees comply with the
law.

Definitions
Employee: An Employee is any member of the Yale faculty or staff, including
part-time employees and student employees. For the purpose of this Policy,
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the term Employee also includes a Yale student or trainee who has created or
received a Legal Record in the course of providing a service to Yale or to
others as part of his or her education or training (for example, a student
serving on a University committee or a medical resident who treats a Yale
patient).

Record: A Record is any information preserved in a fixed medium, whether on
paper, electronically, or otherwise. For example, the term includes e-mail and
voicemail messages, calendar entries. photographs, and “metadata” that
computers store in relation to a user’s electronic documents.

Legal Record: A Legal Record is a Record relating to the subject of an
existing or anticipated legal proceeding. A Legal Record is covered by this
Policy if (i) it is stored in a facility or device owned by Yale; or (ii) the Record is
in the custody or control of an Employee and the Employee created or
received the Record in his or her role as an Employee. If a Legal Record
meets the second criterion above, it is covered by this Policy, whether or not it
is stored in a Yale facility or on a device owned by Yale.

Preserve: To preserve a Legal Record, an Employee must retain it in its
original medium and not alter, delete, remove, discard, or destroy, directly or
indirectly, any of the information that the Record contains.

Policy Sections
1106.1 Obligation to Report Existing or Anticipated
Legal Proceedings

Employees must inform the Office of the General Counsel (OGC) if they have
reason to believe that Yale has become or is likely to become a party to a legal
proceeding, such as a lawsuit, a government investigation, or a government
audit. For example, Employees should report any of the following events:

     formal notice of a lawsuit or discrimination claim;
     an oral statement that a person or entity intends to bring a lawsuit or a
     claim of discrimination, retaliation, or harassment;
     receipt of a letter from a lawyer stating a legal claim or making a demand
     for compensation;
     a meeting over an employment or business dispute to which the other
     party brings a lawyer; or
     a communication from a government agency announcing an investigation
     or audit (whether the audit is routine or not).
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(No Employee should accept service of a summons or a subpoena directed to
Yale or a Yale school or program. The person serving the summons or
subpoena should be directed to the OGC.)

As discussed below, the OGC will determine whether a given set of
circumstances obligates Employees to preserve Legal Records, and it will
inform Employees of its decision.

1106.2 Obligation to Preserve Legal Records

Once Employees have reason to believe that Yale has become or is likely to
become a party to a legal proceeding, they must preserve all Legal Records
until instructed otherwise by the OGC. Employees must immediately contact
the Office of the General Counsel for instruction on preserving records.

Usually, Employees will first learn of their obligation to preserve specific Legal
Records when they receive a notice from the OGC. However, if Employees
have reason to believe that Yale has become or is likely to become a party to a
legal proceeding, they must inform the OGC and begin preserving Legal
Records without waiting for instructions to do so The obligation to preserve
Legal Records also applies to Records created after a legal proceeding has
begun, but Employees should avoid creating new Records regarding an
existing or anticipated legal proceeding, except in coordination with the OGC.
Employees who have been instructed to preserve Legal Records and who are
leaving Yale employment must inform the OGC so that other arrangements can
be made to preserve the Records in their care.

1106.3 Responsibility of the Office of the General Counsel

The OGC will determine whether a given set of circumstances obligates Yale
and its Employees to preserve Legal Records. If the OGC determines that
such an obligation exists, it will identify affected Employees; notify affected
Employees and provide them with specific instructions on how to meet their
obligations; notify ITS and provide instructions regarding its responsibilities;
and periodically remind affected Employees of their obligation. If
the OGC determines that a given set of circumstances does not create an
obligation to preserve Legal Records or that an e isting obligation has ended,
it will instruct affected Employees that they may resume their usual
recordkeeping practices.

1106.4 Responsibility of Information Technology Services
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When instructed to do so by the OGC, Information Technology Services (ITS)
will preserve electronic Legal Records stored on centrally controlled Yale
computer systems; gather and preserve electronic Legal Records stored on
devices controlled by Employees; and help Employees preserve electronic
Legal Records.

1106.5 Violations of this Policy

Alleged violations of this Policy by faculty or staff members may be pursued in
accordance with the appropriate disciplinary procedures, as outlined in the
Faculty Handbook and the Staff Personnel Policies and Practices Manual, and
other applicable materials, and discipline may be imposed, up to and including
termination. Staff members who are members of University-recognized
bargaining units may be disciplined for violations of this Policy, up to and
including termination, in accordance with the relevant disciplinary provisions
set forth in the agreements covering their bargaining units. Alleged violations of
this Policy by students or trainees may be pursued in accordance with the
appropriate disciplinary procedures of their schools or programs, and discipline
may be imposed, up to and including withdrawal from the University.

Special Situations/Exceptions
None.


Source URL: https://your.yale.edu/policies-procedures/policies/1106-preserving-records-
legal-purposes
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                      EXHIBIT 2




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Procedure 1010 GD.01
Matrix of University-Wide Requirements
Revision Date: 11/25/19
                                                      Reason for Requirement           Reference, Regulation or                                        To Fulfill the
    Requirement                  Activity                                                                               How Assigned   Frequency                           Requirement Owner
                                                              (WHY)                            Policy                                                  Requirement
                                                                                                                                                     Two-part
                                                                                                                                                     training
                                                                                                                                                     includes online
                                                 -Ensure well being of                                                                               training and
                                                                                     Federal:
                                                 laboratory animals                                                                                  tour of
                                                                                     -Animal Welfare Act, CFR 9,
                                                 -Ensure ethical and humane                                                                          facility(ies).
                                                                                     Subpart C, 2.31, (d) (1) (viii)                                                     Office of Animal Research
                                                 care and use of laboratory                                                                          Start here:
                                                                                     -The Public Health Service                                                                    Support
                                                 animals
 Animal Care & Use Handle, care for, or use live                                     Policy on Humane Care and Use TMS Assessment      One-time per                            203-737-1406
                                                 -Protect health and safety of all                                                                  http://assessmen
YARC Facility Training vertebrate animals                                            of Laboratory Animals section Questionnaire         facility
                                                 personnel working with live                                                                        t-
                                                                                     IV.C. 1.f                                                                        regulatory.services@yale.e
                                                 vertebrate animals                                                                                 module.yale.edu
                                                                                     -8th Edition of the Guide to the                                                             du
                                                 -Ensure high quality science                                                                       /rcr-working-
                                                                                     Care and Use of Laboratory
                                                 and protect the integrity of the                                                                   animals/yale-
                                                                                     Animals
                                                 research                                                                                           animal-
                                                                                                                                                    resources-center-
                                                                                                                                                    yarc-facility-
                                                                                                                                                    training-part-1
                                                                                     State:
                                                                                                                                                     Two-part
                                                                                     -CTDPH Code 19A-36-A-25
                                                                                                                                                     training. Start
                                                                                                                                                                          Environmental Health &
                                                    Reduce risk of exposure to                                                                       here:
                                                                                     Federal:                       TMS Assessment                                                Safety
                        Handle biological materials biological materials and to
       Biosafety                                                                     -OSHA General Duty Clause      Questionnaire or    One-time                               203-785-3211
                        in the laboratory           promote good microbiological                                                                     http://ehs.yale.e
                                                                                     -NIH Guidelines for Research   assigned by EHS
                                                    work practices.                                                                                  du/trainings/biol
                                                                                     With Recombinant and                                                                 safetytraining@yale.edu
                                                                                                                                                     ogical-safety-
                                                                                     Synthetic Nucleic Acid
                                                                                                                                                     training-part-1
                                                                                     Molecules
                                                                                     Federal:
                                                                                     -Department of Health and
                        Work with Risk Group 3
                                                    Protect staff, students, faculty Human Services (DHHS) 42,                                                            Environmental Health &
                        pathogens, or work in
                                                    and visitors from potentially    Code of Federal Regulations                                                                  Safety
   Biosafety Level 3    Biosafety Level 3 (BSL3)                                                                                                     Instructor-led
                                                    hazardous biological materials (CFR) 73                         Assigned by EHS      Annual                                203-785-3211
       Training         laboratories, or work on                                                                                                     training
                                                    and to promote good              -Animal and Plant Health
                        protocols utilizing BSL3
                                                    microbiological work practices. Inspection Service (APHIS) 9                                                          safetytraining@yale.edu
                        work practices
                                                                                     CFR 121
                                                                                     -APHIS 7 CFR 331
                                                                                     Federal:
                        Work with Risk Group 3                                       -Department of Health and                                                                Employee Health
                        pathogens, or work in                                        Human Services (DHHS) 42,                                                                 203-432-0071
   BL3 Laboratory       Biosafety Level 3 (BSL3)                                     Code of Federal Regulations                                                             fax 203-432-7828
                                                    Reduce risk of illness.                                         Assigned by EHS     One-time     Clinic visit
   Medical Consult      laboratories, or work on                                     (CFR) 73
                        protocols utilizing BSL3                                     -Animal and Plant Health                                                                employeehealth-
                        work practices                                               Inspection Service (APHIS) 9                                                           business@yale.edu
                                                                                     CFR 121; APHIS 7 CFR 331




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                                                     Reason for Requirement        Reference, Regulation or                                      To Fulfill the
    Requirement                 Activity                                                                             How Assigned   Frequency                         Requirement Owner
                                                             (WHY)                         Policy                                                Requirement
                     Perform custodial or trades
                                                                                Federal:                                                                             Environmental Health &
                     work where the individual
                                                  Prevent individuals from      -OSHA Bloodborne Pathogen                                                                    Safety
                     may come in contact with                                                                                                   Supervisor-led
Bloodborne Pathogens                              becoming infected with        Standard 29 CFR 1910.1030   Assigned by EHS          Annual                               203-785-3211
                     equipment or materials that                                                                                                training
                                                  bloodborne illnesses.         -OSHA CFR 1910.1030 (g) (2)
                     may be contaminated with
                                                                                (i)                                                                                  safetytraining@yale.edu
                     blood or other bodily fluids
                     Provide care or have
                     contact with patients in a                                                                                                 Online training:
                     clinical, research or
                                                                                Federal:                                                                             Environmental Health &
                     community setting that may                                                                                                 http://ehs.yale.e
                                                Prevent individuals from        -OSHA Bloodborne Pathogen TMS Assessment                                                     Safety
                     expose an individual to                                                                                                    du/trainings/blo
Bloodborne Pathogens                            becoming infected with          Standard 29 CFR 1910.1030   Questionnaire or         Annual                               203-785-3211
                     human blood or other                                                                                                       odborne-
                                                bloodborne illnesses.           -OSHA CFR 1910.1030 (g) (2) assigned by EHS
                     potentially infectious                                                                                                     pathogen-
                                                                                (i)                                                                                  safetytraining@yale.edu
                     materials.                                                                                                                 training-clinical-
                                                                                                                                                personnel

                     Provide emergency
                                                                                Federal:                                                                             Environmental Health &
                     response or first aid as
                                                  Prevent individuals from      -OSHA Bloodborne Pathogen TMS Assessment                                                     Safety
                     required by the individual's                                                                                               Instructor-led
Bloodborne Pathogens                              becoming infected with        Standard 29 CFR 1910.1030   Questionnaire or         Annual                               203-785-3211
                     job description (e.g. Yale                                                                                                 training
                                                  bloodborne illnesses.         -OSHA CFR 1910.1030 (g) (2) assigned by EHS
                     Police Department,
                                                                                (i)                                                                                  safetytraining@yale.edu
                     Athletics Trainers)
                     Work, in a laboratory, with
                     human materials (e.g.
                                                                                                                                                Online training:
                     human blood, tissues, body
                     fluids, primary or
                                                                                Federal:                                                        http://ehs.yale.e    Environmental Health &
                     continuous human cell
                                                 Prevent individuals from       -OSHA Bloodborne Pathogen TMS Assessment                        du/trainings/blo             Safety
                     lines), bloodborne
Bloodborne Pathogens                             becoming infected with         Standard 29 CFR 1910.1030   Questionnaire or         Annual     odborne-                  203-785-3211
                     pathogens, or other
                                                 bloodborne illnesses.          -OSHA CFR 1910.1030 (g) (2) assigned by EHS                     pathogen-
                     potentially infectious
                                                                                (i)                                                             training-            safetytraining@yale.edu
                     materials, or laboratory
                                                                                                                                                laboratory-
                     equipment potentially
                                                                                                                                                personnel
                     contaminated with these
                     materials
                                                                                  Federal:
                                                                                  -False Claims Act [31 U.S.C. §§
                                                                                  3729–3733]
                                                                                  -Anti-Kickback Statute [42
                                                                                                                                                Online training:     Clinical Research Billing
                       Prepare budgets for clinical Ensure adequately documented U.S.C. § 1320a-7b(b)]
                                                                                                                                                                     Quality Assurance, YCCI
  Clinical Research    research services involving and uniformly accurate medical -Physician Self-Referral Law    TMS Assessment
                                                                                                                                    One-time    http://medicine.          203-785-5218
     Compliance        human subjects (School of bills issued by or through the   [42 U.S.C. § 1395nn]            Questionnaire
                                                                                                                                                yale.edu/ycci/co
                       Medicine only)               School of Medicine.           -Exclusion Statute [42 U.S.C. §
                                                                                                                                                mply/            kelly.santamauro@yale.edu
                                                                                  1320a-7]
                                                                                  -Civil Monetary Penalties Law
                                                                                  [42 U.S.C. § 1320a-7a]




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                                                          Reason for Requirement         Reference, Regulation or                                             To Fulfill the
    Requirement                   Activity                                                                               How Assigned         Frequency                          Requirement Owner
                                                                  (WHY)                            Policy                                                     Requirement
                                                                                      Federal:
                                                                                      -False Claims Act [31 U.S.C. §§
                                                                                      3729–3733]
                                                                                      -Anti-Kickback Statute [42
                        Provide clinical care                                                                                                               Online training:    Clinical Research Billing
                                                       Ensure adequately documented U.S.C. § 1320a-7b(b)]
                        services within the context                                                                                                                             Quality Assurance, YCCI
  Clinical Research                                    and uniformly accurate medical -Physician Self-Referral Law    TMS Assessment
                        of clinical research studies                                                                                           One-time     http://medicine.         203-785-5218
     Compliance                                        bills issued by or through the [42 U.S.C. § 1395nn]            Questionnaire
                        involving human subjects                                                                                                            yale.edu/ycci/co
                                                       School of Medicine.            -Exclusion Statute [42 U.S.C. §
                        (School of Medicine only)                                                                                                           mply/            kelly.santamauro@yale.edu
                                                                                      1320a-7]
                                                                                      -Civil Monetary Penalties Law
                                                                                      [42 U.S.C. § 1320a-7a]

                        Conduct work in locations                                                                                                                               Environmental Health &
                        (i.e., tanks, pits, boilers, and                                                                                                                                Safety
                                                                                       Federal:                                                             Instructor-led
   Confined Space       utility vaults) that have a      Reduce risk of injury.                                       Assigned by EHS          One-Time                              203-785-3211
                                                                                       OSHA 29 CFR Part 1910.146                                            training
                        limited means of entry and
                        exit                                                                                                                                                    safetytraining@yale.edu

                                                                                                                                                            Online training:
                                                     Ensure safe transport of                                                                                                   Environmental Health &
                                                                                       Federal:
   DOT Regulated        Package biomedical waste hazardous materials and avoid                                                                                                          Safety
                                                                                       49 CFR 172.704 Department of                                        http://ehs.yale.e
  Biomedical Waste      into Stericycle box/bag unit injury and environmental                                       Assigned by EHS          Every 3 years                           203-785-3211
                                                                                       Transportation training                                             du/trainings/bio
     Packaging          for disposal                 impact from incidents involving
                                                                                       requirements                                                        medical-waste-
                                                     hazardous materials packages                                                                                               safetytraining@yale.edu
                                                                                                                                                           dot-training


                                                                                                                                                            Online training:
                                                                                                                                                                                   Fleet Management
                                                                                     University:                                                            http://your.yale.
  Driver Awareness      Drive a University vehicle                                                                    TMS Assessment                                                 203-432-2285
                                                     Prevent accidents while driving -Policy 1705, University Fleet                            One-time     edu/sites/default
      Training          or University-leased vehicle                                                                  Questionnaire
                                                                                     Policy                                                                 /files/files/Quic
                                                                                                                                                                                   yalefleet@yale.edu
                                                                                                                                                            k%20Start%20
                                                                                                                                                            Registration.pdf

                                                                                      Federal:
                                                                                      -42 CFR Part 50, Subpart F                                            Complete Yale's
                                                                                      -45 CFR Part 94                                                       online
                                                                                      -21 CFR Sections 54.1-54.6                                            disclosure form
                                                     Promote objectivity in research
   External Interest                                                                  -National Science Foundation                            Annual and at:                 Conflict of Interest Office
                        Has responsibility for the   and assure that related external
Disclosure Form (a.k.a,                                                               Conflict of Interest Policy                            within 30 days                       203-785-4780
                        design, conduct or reporting financial interests do not                                       Automated assignment
  Conflict of Interest                                                                                                                        of material https://ires.yale.
                        of research                  compromise the integrity of
   Disclosure Form)                                                                   University:                                              change(s)    edu/WebPortal/     conflicts@yale.edu
                                                     research.
                                                                                      -Yale University Policy on                                            Main.asp?Mode
                                                                                      Conflict of Interest                                                  =COIUserSearc
                                                                                      -Yale University Faculty                                              h
                                                                                      Handbook, Section XX.E.1




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                                             Case 3:20-cv-00133-JCH Document 94-10 Filed 05/12/20 Page 16 of 80
                                                        Reason for Requirement             Reference, Regulation or                                             To Fulfill the
    Requirement                   Activity                                                                                  How Assigned         Frequency                       Requirement Owner
                                                                (WHY)                              Policy                                                        Requirement
                                                                                                                                                               Complete Yale's
                                                                                                                                                               online
                                                     Identify and address related                                                                              disclosure form
                                                                                         University:
   External Interest                                 external interests and ensure                                                               Annual and at:                 Conflict of Interest Office
                                                                                         -Yale University Policy on
Disclosure Form (a.k.a, Hold a faculty position of   that potential conflicts of                                      Automated assignment      within 30 days                       203-785-4780
                                                                                         Conflict of Interest
  Conflict of Interest greater than 50% effort       interest do not bias research,                                   or self identification     of material https://ires.yale.
                                                                                         -Yale University Faculty
   Disclosure Form)                                  teaching, clinical care, or other                                                            change(s)    edu/WebPortal/     conflicts@yale.edu
                                                                                         Handbook, Section XX.E.1
                                                     University activities.                                                                                    Main.asp?Mode
                                                                                                                                                               =COIUserSearc
                                                                                                                                                               h
                                                                                                                                                               Complete Yale's
                                                                                                                                                               online
                                                     Identify and address related                                                                              disclosure form
                                                                                         University:
   External Interest                                 external interests and ensure                                                               Annual and at:                 Conflict of Interest Office
                                                                                         -Yale University Policy on
Disclosure Form (a.k.a, Hold an administrative       that potential conflicts of                                                                within 30 days                       203-785-4780
                                                                                         Conflict of Interest         Self-Identification
  Conflict of Interest position (faculty only)       interest do not bias research,                                                              of material https://ires.yale.
                                                                                         -Yale University Faculty
   Disclosure Form)                                  teaching, clinical care, or other                                                            change(s)    edu/WebPortal/     conflicts@yale.edu
                                                                                         Handbook, Section XX.E.1
                                                     University activities.                                                                                    Main.asp?Mode
                                                                                                                                                               =COIUserSearc
                                                                                                                                                               h
                                                                                                                                                               Complete Yale's
                                                                                                                                                               online
                                                     Identify and address related                                                                              disclosure form
                        Serve as a member of a                                           University:
   External Interest                                 external interests and ensure                                                               Annual and at:                 Conflict of Interest Office
                        research reviewing                                               -Yale University Policy on
Disclosure Form (a.k.a,                              that potential conflicts of                                                                within 30 days                       203-785-4780
                        committee (e.g., IRB,                                            Conflict of Interest         Self-Identification
  Conflict of Interest                               interest do not bias research,                                                              of material https://ires.yale.
                        IACUC, IBC, COIC,                                                -Yale University Faculty
   Disclosure Form)                                  teaching, clinical care, or other                                                            change(s)    edu/WebPortal/     conflicts@yale.edu
                        ESCRO, Radiation Safety)                                         Handbook, Section XX.E.1
                                                     University activities.                                                                                    Main.asp?Mode
                                                                                                                                                               =COIUserSearc
                                                                                                                                                               h
                                                                                                                                                              CITI GCP
                                                                                       Federal:                                                                                    Yale Human Research
                                                                                                                                                              training,
                                                                                       NIH Notice # NOT-OD-16-148                                                                   Protection Program
Good Clinical Practice Engaged in conduct of         Assure the safety, integrity, and                                   Automated assignment                 attendance at
                                                                                       https://grants.nih.gov/grants/gui                        Every 3 years                         203-785-4688
  (GCP) Training       clinical trials               quality of clinical trials                                          from IRES System                     TransCelerate
                                                                                       de/notice-files/NOT-OD-16-
                                                                                                                                                              approved
                                                                                       148.html                                                                                    irb.training@yale.edu
                                                                                                                                                              training sessions
                                                                                                                                                               Clinic visit to        Employee Health
                                                                                                                                                               YMG Hearing             203-432-0071
                        Work around high levels of Detect noise-induced hearing          Federal:                                                              and                   fax 203-432-7828
     Hearing Test                                                                                                     Assigned by EHS              Annual
                        noise                      loss.                                 OSHA 29 CFR 1910.95                                                   Communication
                                                                                                                                                               Disorders              employeehealth-
                                                                                                                                                               Department            business@yale.edu




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                                                     Reason for Requirement          Reference, Regulation or                                            To Fulfill the
  Requirement                 Activity                                                                                 How Assigned         Frequency                        Requirement Owner
                                                             (WHY)                           Policy                                                      Requirement
                                                                                                                                                        Complete HepB
                     Provide care or have
                                                                                                                                                        Acknowledgme
                     contact with patients in a
                                                                                    Federal:                                                            nt Form             Environmental Health &
                     clinical, research or         -Protect employees
                                                                                    -OSHA Bloodborne Pathogen TMS Assessment                                                        Safety
     HepB            community setting that may    -Protect patients
                                                                                    Standard 29 CFR 1910.1030   Questionnaire or            One-time    https://assessme         203-785-3211
Acknowledgement      expose an individual to       -Prevent incidences of Hepatitis
                                                                                    -OSHA CFR 1910.1030 (g) (2) assigned by EHS                         nt-
                     human blood or other          B in the community
                                                                                    (ii)                                                                module.yale.edu     safetytraining@yale.edu
                     potentially infectious
                                                                                                                                                        /ehs/ehs-hepb-
                     materials.
                                                                                                                                                        form
                     Work, in a laboratory, with
                     human materials (e.g.
                                                                                                                                                        Complete HepB
                     human blood, tissues, body                                   Federal:
                                                                                                                                                        Acknowledgme
                     fluids, primary or                                           -OSHA Bloodborne Pathogen
                                                                                                                                                        nt Form             Environmental Health &
                     continuous human cell                                        Standard 29 CFR 1910.1030
                                                 Protect employees, prevent                                       TMS Assessment                                                    Safety
     HepB            lines), bloodborne                                           -OSHA CFR 1910.1030 (g) (2)
                                                 incidences of Hep B in the                                       Questionnaire or          One-time    https://assessme         203-785-3211
Acknowledgement      pathogens, or other                                          (ii)
                                                 community                                                        assigned by EHS                       nt-
                     potentially infectious                                       -CDC
                                                                                                                                                        module.yale.edu     safetytraining@yale.edu
                     materials, or laboratory                                     http://www.cdc.gov/vaccines/aci
                                                                                                                                                        /ehs/ehs-hepb-
                     equipment potentially                                        p/recs/
                                                                                                                                                        form
                     contaminated with these
                     materials
                                                                                                                   Automated assignment
                                                                                                                   to Faculty, staff and
                                                                                                                   students in:
                     Hold a primary
                                                                                                                   School of Medicine
                     appointment in the
                                                                                    Federal:                       (excluding School of
                     following HIPAA Covered       Protect the privacy and security
                                                                                    -Department of Health and      Public Health, Animal                Online training:
                     departments: School of        (including the confidentiality,
                                                                                    Human Services (DHHS) 45       Resources Center, and                                       HIPAA Privacy
                     Medicine (excluding School    integrity and availability) of
HIPAA Privacy and                                                                   CFR 164.530(b)(1) and          basic science                        http://hipaa.yale      203-432-5919
                     of Public Health, Animal      protected health information                                                             One-time
 Security Training                                                                  45CFR164.308(a)(5)(i)          departments);                        .edu/hipaa-
                     Resources Center, and basic   and afford patients certain
                                                                                    -Health Insurance Portability  Physician Associate                  privacy-and-           hipaa@yale.edu
                     science departments);         rights with respect to that
                                                                                    and Accountability Act of 1996 Program; School of                   security-training
                     School of Nursing;            information.
                                                                                    (HIPAA)                        Nursing;Yale Health;
                     Department of Psychology
                                                                                                                   Department of
                     (clinics only);
                                                                                                                   Psychology (clinics
                                                                                                                   only); Benefits Office
                                                                                                                   staff.




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                                                        Reason for Requirement            Reference, Regulation or                                          To Fulfill the
  Requirement                  Activity                                                                                   How Assigned         Frequency                       Requirement Owner
                                                                (WHY)                             Policy                                                    Requirement
                                                                                                                     Automated assignment
                                                                                                                     to Faculty, staff and
                     Work in a HIPAA Covered
                                                                                                                     students in:
                     department, which include
                                                                                                                     School of Medicine
                     the School of Medicine                                           Federal:
                                                     Protect the privacy and security                                (excluding School of
                     (excluding School of Public                                      -Department of Health and                                            Online training:
                                                     (including the confidentiality,                                 Public Health, Animal
                     Health, Animal Resources                                         Human Services (DHHS) 45                                                                   HIPAA Privacy
                                                     integrity and availability) of                                  Resources Center, and
HIPAA Privacy and    Center, and basic science                                        CFR 164.530(b)(1) and                                                http://hipaa.yale     203-432-5919
                                                     protected health information                                    basic science             One-time
 Security Training   departments);                                                    45CFR164.308(a)(5)(i)                                                .edu/hipaa-
                                                     and afford patients certain                                     departments);
                     Physician Associate                                              -Health Insurance Portability                                        privacy-and-          hipaa@yale.edu
                                                     rights with respect to that                                     Physician Associate
                     Program; School of                                               and Accountability Act of 1996                                       security-training
                                                     information.                                                    Program; School of
                     Nursing; Yale Health;                                            (HIPAA)
                                                                                                                     Nursing;Yale Health;
                     Department of Psychology
                                                                                                                     Department of
                     clinics; and Benefits Office.
                                                                                                                     Psychology clinics; and
                                                                                                                     Benefits Office.


                     Hold a secondary
                     appointment in the
                                                                                        Federal:
                     following HIPAA Covered         Protect the privacy and security
                                                                                        -Department of Health and                                          Online training:
                     departments: School of          (including the confidentiality,
                                                                                        Human Services (DHHS) 45                                                                 HIPAA Privacy
                     Medicine (excluding School      integrity and availability) of
HIPAA Privacy and                                                                       CFR 164.530(b)(1) and          TMS Assessment                      http://hipaa.yale     203-432-5919
                     of Public Health, Animal        protected health information                                                              One-time
 Security Training                                                                      45CFR164.308(a)(5)(i)          Questionnaire                       .edu/hipaa-
                     Resources Center, and basic     and afford patients certain
                                                                                        -Health Insurance Portability                                      privacy-and-          hipaa@yale.edu
                     science departments);           rights with respect to that
                                                                                        and Accountability Act of 1996                                     security-training
                     School of Nursing;              information.
                                                                                        (HIPAA)
                     Department of Psychology
                     (clinics only);




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                                                          Reason for Requirement            Reference, Regulation or                                               To Fulfill the
    Requirement                   Activity                                                                                    How Assigned         Frequency                          Requirement Owner
                                                                  (WHY)                             Policy                                                         Requirement

                        Provide technical (e.g. ITS)
                        or administratvie support or
                        oversight to a HIPAA
                        covered department that
                        may involve viewing or
                        accessing protected health
                                                                                          Federal:
                        information (PHI). (HIPAA      Protect the privacy and security
                                                                                          -Department of Health and                                               Online training:
                        Covered departments            (including the confidentiality,
                                                                                          Human Services (DHHS) 45                                                                      HIPAA Privacy
                        include the School of          integrity and availability) of
 HIPAA Privacy and                                                                        CFR 164.530(b)(1) and          TMS Assessment                           http://hipaa.yale     203-432-5919
                        Medicine (excluding School     protected health information                                                                 One-time
  Security Training                                                                       45CFR164.308(a)(5)(i)          Questionnaire                            .edu/hipaa-
                        of Public Health, Animal       and afford patients certain
                                                                                          -Health Insurance Portability                                           privacy-and-          hipaa@yale.edu
                        Resources Center, and basic    rights with respect to that
                                                                                          and Accountability Act of 1996                                          security-training
                        science departments);          information.
                                                                                          (HIPAA)
                        Physician Associate
                        Program; School of
                        Nursing; Yale Health;
                        Department of Psychology
                        (clinics only); and Benefits
                        Office.)

                                                                                          Federal:
                                                       Protect the privacy and security
                       Participate, as a minor,                                           -Department of Health and                                               Online training:
                                                       (including the confidentiality,
                       visiting undergraduate, or                                         Human Services (DHHS) 45                                                                      HIPAA Privacy
                                                       integrity and availability) of
 HIPAA Privacy and Yale undergraduate, in a                                               CFR 164.530(b)(1) and                                                   http://hipaa.yale     203-432-5919
                                                       protected health information                                      Assigned by EHS            One-time
Security Training- EHS clinical or research activity                                      45CFR164.308(a)(5)(i)                                                   .edu/hipaa-
                                                       and afford patients certain
                       in a HIPAA covered                                                 -Health Insurance Portability                                           privacy-and-          hipaa@yale.edu
                                                       rights with respect to that
                       department                                                         and Accountability Act of 1996                                          security-training
                                                       information.
                                                                                          (HIPAA)
                     Continue work on active
                     protocol designing,
                     conducting or analyzing                                          University:                                                                                     Yale Human Research
                     research projects that                                           http://www.yale.edu/hrpp/docu                                                                    Protection Program
  Human Research                                       Safeguard the welfare of human                                Automated assignment                         Web, instructor-
                     involve human subjects,                                          ments/HRPPPolicy800Training-                                Every 3 years                          203-785-4688
Continuing Education                                   subjects.                                                     from IRES IRB System                         led
                     human tissue, or review                                          OrientationandEducationfinal.p
                     individual medical or                                            df                                                                                              irb.training@yale.edu
                     personal records for
                     research purposes
                        Design, conduct or analyze
                        research projects that                                            University:                                                             CITI Training,      Yale Human Research
                                                                                                                           TMS Assessment
                        involve human subjects or                                         http://www.yale.edu/hrpp/docu                                           instructor-led,      Protection Program
   Human Subject                                   Safeguard the welfare of human                                          Questionnaire or
                        human tissue, or review                                           ments/HRPPPolicy800Training-                              One-time      certificate from       203-785-4688
  Protection training                              subjects.                                                               automated assignment
                        individual medical or                                             OrientationandEducationfinal.p                                          another
                                                                                                                           from IRES IRB System
                        personal records for                                              df                                                                      university          irb.training@yale.edu
                        research purposes




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                                                        Reason for Requirement          Reference, Regulation or                                            To Fulfill the
   Requirement                 Activity                                                                                   How Assigned         Frequency                        Requirement Owner
                                                                (WHY)                           Policy                                                      Requirement
                                                                                                                                                           Online training:
                                                                                                                                                                               Environmental Health &
                                                 Reduce risk of exposure to    Federal:                               TMS assessment                                                   Safety
Laboratory Chemical   Work in a laboratory where                                                                                                           http://ehs.yale.e
                                                 chemicals and to promote good -29 CFR 1910.1450                      questionnaire or         One-Time                             203-785-3211
       Safety         chemicals are present                                                                                                                du/trainings/Lab-
                                                 work practices.               -29 CFR 1910.1200                      assigned by EHS
                                                                                                                                                           Chemical-
                                                                                                                                                                             safetytraining@yale.edu
                                                                                                                                                           Training

                                                                                                                                                           Two-part
                                                                                                                                                           training. Start     Environmental Health &
                                                                                      Federal:                                                             here:                       Safety
                                                     Reduce risk of injury and
   Laser Safety       Work with lasers                                                -ANSI standard Z136.1           Assigned by EHS          One-Time                             203-785-3211
                                                     prevent misuse of lasers.
                                                                                      -OSHA 1926.102(b)(2)(i)                                              http://ehs.yale.e
                                                                                                                                                           du/trainings/lase   safetytraining@yale.edu
                                                                                                                                                           r-safety-training
                                                                                                                                                                               Environmental Health &
                      Maintain or repair                                                                                                                                               Safety
                                                                                      Federal:                                                             Instructor-led
  Lockout/Tagout      equipment with energized       Reduce risk of injury.                                           Assigned by EHS          One-Time                             203-785-3211
                                                                                      OSHA 29 CFR 1910.147                                                 training
                      systems
                                                                                                                                                                               safetytraining@yale.edu
                                                                                                                                                                                   Employee Health
                                                     -Protect employees               Federal:                                                                                      203-432-0071
                                                                                                                                                           Certify
                      Provide patient care or        -Protect patients                CDC                             TMS Assessment                                              fax 203-432-7828
 Measles Immunity                                                                                                                              One-Time    immunization or
                      perform clinical services      -Prevent incidences of Measles   http://www.cdc.gov/vaccines/aci Questionnaire
                                                                                                                                                           immunity
                                                     in the community                 p/recs/                                                                                     employeehealth-
                                                                                                                                                                                 business@yale.edu
                                                                                    Federal:
                                                                                    -False Claims Act [31 U.S.C. §§
                                                                                    3729–3733]
                                                                                    -Anti-Kickback Statute [42
                                                                                    U.S.C. § 1320a-7b(b)]
                      Provide patient services, as                                  -Physician Self-Referral Law                                           Online training:        Medical Billing
                                                     Ensure adequately documented                                     Manually assigned by
                      a faculty member employed                                     [42 U.S.C. § 1395nn]                                                                            Compliance
  Medical Billing                                    and uniformly accurate medical                                   Medical Billing
                      by Yale, that are payable to                                  -Exclusion Statute [42 U.S.C. §                             Annual     https://transact.       203-785-3868
   Compliance                                        bills issued by or through the                                   Compliance office at
                      School of Medicine but are                                    1320a-7]                                                               med.yale.edu/c
                                                     School of Medicine.                                              time of credentialing.
                      billed by a non-YSM entity                                    -Civil Monetary Penalties Law                                          ms/index.asp         judy.harris@yale.edu
                                                                                    [42 U.S.C. § 1320a-7a]

                                                                                      University:
                                                                                      -Yale Medicine Practice
                                                                                      Standards




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                                                        Reason for Requirement         Reference, Regulation or                                                To Fulfill the
   Requirement                   Activity                                                                                   How Assigned        Frequency                         Requirement Owner
                                                                (WHY)                            Policy                                                        Requirement
                                                                                    Federal:
                                                                                    -False Claims Act [31 U.S.C. §§
                                                                                    3729–3733]
                                                                                    -Anti-Kickback Statute [42
                       Provide clinicial services,
                                                                                    U.S.C. § 1320a-7b(b)]
                       as a physician or other                                                                         TMS Assessment
                                                                                    -Physician Self-Referral Law                                              Online training:      Medical Billing
                       health care provider, for     Ensure adequately documented                                      Questionnaire or
                                                                                    [42 U.S.C. § 1395nn]                                                                             Compliance
  Medical Billing      which the School of           and uniformly accurate medical                                    manually assigned by
                                                                                    -Exclusion Statute [42 U.S.C. §                               Annual      https://transact.     203-785-3868
   Compliance          Medicine provides billing     bills issued by or through the                                    Medical Billing
                                                                                    1320a-7]                                                                  med.yale.edu/c
                       services (Schools of          School of Medicine.                                               Compliance office at
                                                                                    -Civil Monetary Penalties Law                                             ms/index.asp        judy.harris@yale.edu
                       Medicine and Nursing                                                                            time of credentialing.
                                                                                    [42 U.S.C. § 1320a-7a]
                       only)
                                                                                     University:
                                                                                     -Yale Medicine Practice
                                                                                     Standards
                                                                                     Federal:
                                                                                     -False Claims Act [31 U.S.C. §§
                                                                                     3729–3733]
                                                                                                                                                              Online training:
                       Provide clinical services, as                                 -Anti-Kickback Statute [42                                                                     Medical Billing
                                                     Ensure adequately documented
  Medical Billing      a physician or other health                                   U.S.C. § 1320a-7b(b)]           Manually assigned by                                            Compliance
                                                     and uniformly accurate medical                                                                           https://medicine
 Compliance (Yale      care provider, for which                                      -Physician Self-Referral Law    Yale Health Finance          Annual                            203-785-3868
                                                     bills issued by or through Yale                                                                          .yale.edu/ymad
     Health)           Yale Health provides billing                                  [42 U.S.C. § 1395nn]            and Billing Operations
                                                     Health.                                                                                                  min/medicalbilli
                       services.                                                     -Exclusion Statute [42 U.S.C. §                                                              judy.harris@yale.edu
                                                                                                                                                               ng/education
                                                                                     1320a-7]
                                                                                     -Civil Monetary Penalties Law
                                                                                     [42 U S C § 1320a-7a]
                                                                                                                                                              Complete
                                                                                                                                                              medical
                                                                                         Federal:
                                                                                                                                                              questionnaire   Office of Animal Research
                                                     -Ensure well being of               -8th Edition of the Guide to the
                                                                                                                                                              and submit to             Support
                                                     laboratory animals                  Care and Use of Laboratory
Medical Surveillance                                                                                                      TMS Assessment                      Employee              203-737-1406
                     Enter an animal facility        -Protect health and safety of all   Animals                                                 One-time
for Animal Handlers                                                                                                       Questionnaire                       Health.
                                                     personnel working with live         -CDC/NIH Biosafety in
                                                                                                                                                              Employee        regulatory.services@yale.e
                                                     vertebrate animals                  Microbiological and Biomedical
                                                                                                                                                              health conducts             du
                                                                                         Laboratories, 5th Edition
                                                                                                                                                              a medical exam
                                                                                                                                                              if needed.

                                                                                                                                                              Complete
                                                                                                                                                              medical
                                                                                         Federal:
                                                                                                                                                              questionnaire   Office of Animal Research
                                                   -Ensure well being of                 -8th Edition of the Guide to the
                                                                                                                                                              and submit to             Support
                                                   laboratory animals                    Care and Use of Laboratory
Medical Surveillance Handle, care for, or use live                                                                        TMS Assessment                      Employee              203-737-1406
                                                   -Protect health and safety of all     Animals                                                Every 3 years
for Animal Handlers vertebrate animals                                                                                    Questionnaire                       Health.
                                                   personnel working with live           -CDC/NIH Biosafety in
                                                                                                                                                              Employee        regulatory.services@yale.e
                                                   vertebrate animals                    Microbiological and Biomedical
                                                                                                                                                              health conducts             du
                                                                                         Laboratories, 5th Edition
                                                                                                                                                              a medical exam
                                                                                                                                                              if needed.




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                                                        Reason for Requirement            Reference, Regulation or                                             To Fulfill the
    Requirement                   Activity                                                                                   How Assigned         Frequency                        Requirement Owner
                                                                (WHY)                             Policy                                                       Requirement
                                                                                                                                                              Complete
                                                                                                                                                              medical
                                                                                        Federal:
                                                    -Ensure well being of                                                                                     questionnaire   Office of Animal Research
                                                                                        -8th Edition of the Guide to the
                                                    laboratory animals                                                                                        and submit to             Support
 Medical Surveillance Provide custodial, trades, or                                     Care and Use of Laboratory       Assigned by Facilities
                                                    -Protect health and safety of all                                                                         Employee              203-737-1406
for Entering an Animal other facilities services in                                     Animals                          or Office of Animal      One-time
                                                    personnel working in an area                                                                              Health.
    Housing Room       an animal housing room.                                          -CDC/NIH Biosafety in            Research Suppport
                                                    where live vertebrate animals                                                                             Employee        regulatory.services@yale.e
                                                                                        Microbiological and Biomedical
                                                    are housed                                                                                                health conducts             du
                                                                                        Laboratories, 5th Edition
                                                                                                                                                              a medical exam
                                                                                                                                                              if needed.
                                                                                                                                                                                  Environmental Health &
                                                                                                                                                                                          Safety
  Noise and Hearing     Work around high levels of Prevent noise-induced hearing        Federal:                                                              Instructor-led
                                                                                                                         Assigned by EHS           Annual                              203-785-3211
    Conservation        noise                      loss.                                OSHA 29 CFR 1910.95                                                   training
                                                                                                                                                                                  safetytraining@yale.edu
                                                     Ensure that workers who may
                                                                                                                                                              Online training:
                        Handle chemicals outside of be exposed to chemicals on the
                                                                                                                                                                                  Environmental Health &
                        a laboratory, including      job are informed of the hazards
                                                                                                                         TMS Assessment                       http://ehs.yale.e           Safety
   Non-Laboratory       cleansers, paints, solvents, associated with these chemicals, Federal:
                                                                                                                         Questionnaire or         One-Time    du/trainings/haz         203-785-3211
   Chemical Safety      fertilizers, pesticides, and labeling and SDS requirements, 29 CFR 1910.1200
                                                                                                                         assigned by EHS                      ard-
                        bleach and other             personal protective equipment
                                                                                                                                                              communication-      safetytraining@yale.edu
                        disinfectants                selection and use, and safe
                                                                                                                                                              training
                                                     chemical handling.

                                                                                      Federal:
                                                                                      -Patent rights clauses governing
                                                                                                                         Automated assignment
                                                                                      government grants, 37 CFR
                                                                                                                         at onboarding for all                                     Office of Cooperative
                                                     Protect rights of the government 401.14(a)(f)(2)
    Patent Policy                                                                                                        new faculty, M&Ps,                                              Research
                        Hired on or after February   and University; ensure           -NIH Grants Policy Statement                                            Online or paper
  Acknowledgement                                                                                                        C&Ts, Postdocs,          One-time                            203-436-8096
                        27, 2015                     disclosure of patentable         (10/1/2012), Section 8.2.4                                              form
     Agreement                                                                                                           Graduate Students,
                                                     inventions to the University.    "Inventions and Patents"
                                                                                                                         Medical School                                               ocr@yale.edu
                                                                                                                         Students
                                                                                        University:
                                                                                        -Yale University Patent Policy

                                                                                      Federal:
                                                                                      -Patent rights clauses governing
                                                                                      government grants, 37 CFR
                                                                                                                                                                                   Office of Cooperative
                                                     Protect rights of the government 401.14(a)(f)(2)                    Automated assignment
    Patent Policy                                                                                                                                                                        Research
                                                     and University; ensure           -NIH Grants Policy Statement       for all Yale community               Online or paper
  Acknowledgement       Paid on a federal award                                                                                                   One-time                            203-436-8096
                                                     disclosure of patentable         (10/1/2012), Section 8.2.4         members who are paid                 form
     Agreement
                                                     inventions to the University.    "Inventions and Patents"           on a federal award
                                                                                                                                                                                      ocr@yale.edu
                                                                                        University:
                                                                                        -Yale University Patent Policy




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                                                       Reason for Requirement            Reference, Regulation or                                                   To Fulfill the
    Requirement                  Activity                                                                                    How Assigned           Frequency                            Requirement Owner
                                                               (WHY)                             Policy                                                             Requirement
                                                                                      Federal:
                                                                                      -Patent rights clauses governing
                                                                                      government grants, 37 CFR
                       Apply for and receive                                                                                                                                             Office of Cooperative
                                                     Protect rights of the government 401.14(a)(f)(2)                    Manual assignment by
   Patent Policy       federal awards supporting                                                                                                                                               Research
                                                     and University; ensure           -NIH Grants Policy Statement       OCR upon individual's                     Online or paper
 Acknowledgement       research or use federal                                                                                                       One-time                               203-436-8096
                                                     disclosure of patentable         (10/1/2012), Section 8.2.4         completion of                             form
    Agreement          monies in the conduct of
                                                     inventions to the University.    "Inventions and Patents"           Acknowledgement
                       research                                                                                                                                                              ocr@yale.edu
                                                                                      University:
                                                                                      -Yale University Patent Policy

                                                                                      Federal:
                                                                                      -Patent rights clauses governing
                                                                                      government grants, 37 CFR
                                                                                                                                                                                         Office of Cooperative
                       Engage in activity that       Protect rights of the government 401.14(a)(f)(2)                    Manual assignment by
   Patent Policy                                                                                                                                                                               Research
                       could lead to or has led to   and University; ensure           -NIH Grants Policy Statement       OCR upon individual's                     Online or paper
 Acknowledgement                                                                                                                                     One-time                               203-436-8096
                       patentable intellectual       disclosure of patentable         (10/1/2012), Section 8.2.4         disclosure of invention                   form
    Agreement
                       property                      inventions to the University.    "Inventions and Patents"           to OCR
                                                                                                                                                                                             ocr@yale.edu
                                                                                      University:
                                                                                      -Yale University Patent Policy


                                                                                                                                                                   Online training:

                                                                                      University:                                                                  https://bmsweb-     Controller's Office
  PCI (Payment Card Store, process or transmit       Ensure internal controls are in Yale University Policy 2820     TMS Assessment                                h.yale.edu/ords/t   203-432-5524
                                                                                                                                                     Annual
Industry) data security cardholder data              place to protect cardholder data Acceptance of Credit and Debit Questionnaire                                 ms/tms enrollm      Controllers.office@yale.ed
                                                                                      Card Payments                                                                ents.offerings?p    u
                                                                                                                                                                    crs id=6484&
                                                                                                                                                                   p std id=


                                                                                                                                                                   Online training:
                                                                                      Federal:                                                                                          Environmental Health &
 PI Orientation to the Principal Investigators who Provide an overview of Yale        NIH Guidelines for Research                                                  http://ehs.yale.e            Safety
Yale Biological Safety conduct research with       Biosafety program and              Involving Recombinant and          Assigned by EHS            One-Time       du/trainings/pi-          203-785-3211
       Manual          biological materials        regulatory requirements.           Synthetic Nuclei Acid                                                        orientation-
                                                                                      Molecules, November 2013                                                     biosafety-           safetytraining@yale.edu
                                                                                                                                                                   manual
                                                                                                                                                                                        Environmental Health &
                       Operate powered industrial
                                                                                                                                                                                                Safety
 Powered Industrial    vehicles such as forklifts, Reduce risk of injury and          Federal:                                                                     Instructor-led
                                                                                                                         Assigned by EHS           Every 3 years                             203-785-3211
     Vehicles          order-pickers, and          prevent damage to property.        OSHA 29 CFR 1910.178                                                         training
                       motorized pallet jacks
                                                                                                                                                                                        safetytraining@yale.edu




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                                                      Reason for Requirement            Reference, Regulation or                                             To Fulfill the
   Requirement                   Activity                                                                                How Assigned         Frequency                          Requirement Owner
                                                              (WHY)                               Policy                                                     Requirement
                                                                                      Federal:
                                                                                      -Violence Against Women Act
                                                                                      (VAWA) Title IV, sec. 40001-
                                                   Cultivate an environment at        40703 of the Violent Crime
                                                   Yale that is respectful,           Control and Law Enforcement
                                                   inclusive, and free of sexual      Act, H.R. 3355
                                                                                                                    Automated assignment                    Online training:      University Title IX
                                                   misconduct through training
   Preventing &                                                                                                     to faculty, staff,                                               Coordinator
                     Employed as Yale faculty,     that outlines and explains         State:
Responding to Sexual                                                                                                trainees, and graduate      Annual      https://smr-           203-432-6854
                     staff, or trainee             Yale’s policies and definitions,   -Connecticut P.A. 14-11
    Misconduct                                                                                                      and professional school                 training.yale.ed
                                                   campus resources, reporting        https://www.cga.ct.gov/2014/A
                                                                                                                    students.                               u/                     TitleIX@yale.edu
                                                   mechanisms, and general            CT/pa/pdf/2014PA-00011-
                                                   strategies for prevention and      R00HB-05029-PA.pdf
                                                   response
                                                                                      University:
                                                                                      -Yale Sexual Misconduct
                                                                                      Policies
                                                                                      Federal:
                                                                                      -Violence Against Women Act
                                                                                      (VAWA) Title IV, sec. 40001-
                                                 Cultivate an environment at          40703 of the Violent Crime
                                                 Yale that is respectful,             Control and Law Enforcement
                                                 inclusive, and free of sexual        Act, H.R. 3355
                                                                                                                    Automated assignment                    Online training:      University Title IX
                                                 misconduct through training
   Preventing &                                                                                                     to faculty, staff,                                               Coordinator
                     Registered as a graduate or that outlines and explains           State:
Responding to Sexual                                                                                                trainees, and graduate      Annual      https://smr-           203-432-6854
                     professional student        Yale’s policies and definitions,     -Connecticut P.A. 14-11
    Misconduct                                                                                                      and professional school                 training.yale.ed
                                                 campus resources, reporting          https://www.cga.ct.gov/2014/A
                                                                                                                    students.                               u/                     TitleIX@yale.edu
                                                 mechanisms, and general              CT/pa/pdf/2014PA-00011-
                                                 strategies for prevention and        R00HB-05029-PA.pdf
                                                 response
                                                                                      University:
                                                                                      -Yale Sexual Misconduct
                                                                                      Policies
                                                                                                                                                                                   Employee Health
                                                                                      Federal:                                                              Provide                 203-432-0071
                       Employed as a veterinarian Reduce risk of contracting          CDC                             TMS Assessment                        documentation         fax 203-432-7828
  Rabies Immunity                                                                                                                             Every 2 years
                       for the University         rabies.                             http://www.cdc.gov/vaccines/aci Questionnaire                         of immunization
                                                                                      p/recs/                                                               or immunity            employeehealth-
                                                                                                                                                                                  business@yale.edu
                                                                                                                                                                                   Employee Health
                                                                                      Federal:                                                              Provide                 203-432-0071
                       Handle, care for, or use
                                                   Reduce risk of contracting         CDC                             TMS Assessment                        documentation         fax 203-432-7828
  Rabies Immunity      feral animals at risk for                                                                                              Every 2 years
                                                   rabies.                            http://www.cdc.gov/vaccines/aci Questionnaire                         of immunization
                       rabies transmission
                                                                                      p/recs/                                                               or immunity            employeehealth-
                                                                                                                                                                                  business@yale.edu

                                                                                                                                                            Online training:    Environmental Health &
                                                                                      University:
                       Work in laboratory where Reduce risk of exposure to                                                                                                              Safety
  Radiation Safety                                                                    Decision by Radiation Safety                                          http://ehs.yale.e
                       other research groups        individuals, loss of sources, and                                Assigned by EHS           One-time                              203-785-3211
    Awareness                                                                         Committee (meeting dated                                              du/trainings/radi
                       handle radioactive materials misuse of sources.
                                                                                      December 14, 2015)                                                    ation-safety-       safetytraining@yale.edu
                                                                                                                                                            awareness

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                                                        Reason for Requirement          Reference, Regulation or                                              To Fulfill the
   Requirement                   Activity                                                                                 How Assigned           Frequency                        Requirement Owner
                                                                (WHY)                           Policy                                                        Requirement
                                                                                      Federal:
                                                                                                                                                             Two-part
                                                                                      10 CFR 20.1906
                                                                                                                                                             training. Start     Environmental Health &
                       Procure, secure, use, store,   Reduce risk of exposure to                                                                             here:                       Safety
Radiation Safety for                                                                    University:
                       handle and dispose of          individuals, loss of sources, and                                 Assigned by EHS          One-time                             203-785-3211
  Sealed Sources                                                                        -Yale's NRC type A license of
                       radioactive sealed sources     misuse of sources.                                                                                     https://ehs.yale.
                                                                                        broadscope
                                                                                                                                                             edu/trainings/se    safetytraining@yale.edu
                                                                                        -Corrective action to May, 2015
                                                                                                                                                             aled-sources
                                                                                        Na-22 sealed source incident.

                                                                                                                                                             Two-part
                                                                                                                                                             training. Start
                       Work with University
                                                                                                                                                             here:               Environmental Health &
                       radioactive
                                                      Reduce risk of exposure to      Federal:                        TMS Assessment                                                     Safety
Radiation Safety for   material/sources, or work
                                                      individuals and environment,    -10 CFR Part 19                 Questionnaire or           One-Time    http://ehs.yale.e        203-785-3211
 Unsealed Sources      for a PI who is authorized
                                                      and prevent misuse.             -NRC License Commitment         assigned by EHS                        du/trainings/radi
                       to use radioactive
                                                                                                                                                             ation-safety-       safetytraining@yale.edu
                       materials/sources.
                                                                                                                                                             basic-concepts

                                                                                                                                                             Two-part
                                                                                                                                                             training. Start     Environmental Health &
                       Work with or near radiation-                                   State:
                                                                                                                                                             here:                       Safety
Radiation-Producing    producing equipment,         Reduce risk of exposure and       CT DEEP Administrative
                                                                                                                     Assigned by EHS             One-Time                             203-785-3211
    Equipment          including irradiators and x- injury to individuals             Regulations Sec. 19-25d-(b)(2)
                                                                                                                                                             http://ehs.yale.e
                       ray equipment
                                                                                                                                                             du/trainings/x-     safetytraining@yale.edu
                                                                                                                                                             ray-safety
                                                                                                                                                             Instructor-led or
                                                                                                                                                             Online training:
                       Supervise at least one
                                                                                                                       Automated assignment                                     Office of Institutional
                       person including students.                                     State:
  Recognition and                                     Recognize, prevent, and resolve                                  to individuals                        https://bmsweb.      Equity and Access
                       Must complete within six                                       Section 46a-54 (15) (B) and 45a-
Prevention of Sexual                                  sexual harassment situations in                                  designated as             One-Time    med.yale.edu/tm        203-432-0849
                       months of becoming a                                           54-204 of the Connecticut
    Harassment                                        the workplace.                                                   supervisors in the HR                 s/tms enrollmen
                       supervisor. (Applies to                                        General Statutes
                                                                                                                       system                                ts.offerings?p_c equalopportunity@yale.edu
                       Faculty and Staff)
                                                                                                                                                             rs id=923&p st
                                                                                                                                                             d id=#

                                                                                                                                                             Attend
                                                                                                                                                             instructor-led       Office of Institutional
                                                                                                                      Automated assignment
  Recognition and      Do not supervise anyone        Recognize, and prevent sexual                                                                          training:             Equity and Access
                                                                                      State:                          to individuals             Every Ten
Prevention of Sexual   (Applies to Faculty and        harassment situations in the                                                                                                   203-432-0849
                                                                                      Act 19-16 the Times Up Act      designated as faculty or     Years
    Harassment         Staff)                         workplace.                                                                                             or after
                                                                                                                      staff in the HR system
                                                                                                                                                             December 2019 equalopportunity@yale.edu
                                                                                                                                                             on-line training




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                                                         Reason for Requirement             Reference, Regulation or                                           To Fulfill the
     Requirement                   Activity                                                                                 How Assigned          Frequency                       Requirement Owner
                                                                   (WHY)                            Policy                                                     Requirement
                                                      -Ensure well being of
                                                      laboratory animals                                                                                      Online training:
                                                      -Ensure ethical and humane          Federal:
                                                                                                                                                                               Office of Animal Research
                                                      care and use of laboratory          -Animal Welfare Act, CFR 9,                                         http://assessmen
                                                                                                                                                                                         Support
                                                      animals                             Subpart C, 2.31, (d) (1) (viii)                                     t-
Regulatory Training for Handle, care for, or use live                                                                     TMS Assessment                                             203-737-1406
                                                      -Protect health and safety of all   -The Public Health Service                              One-time    module.yale.edu
 Animal Care and Use vertebrate animals                                                                                   Questionnaire
                                                      personnel working with live         Policy on Humane Care and Use                                       /rcr-working-
                                                                                                                                                                               regulatory.services@yale.e
                                                      vertebrate animals                  of Laboratory Animals section                                       animals/rcr-
                                                                                                                                                                                           du
                                                      -Ensure high quality science        IV.C. 1.f                                                           working-
                                                      and protect the integrity of the                                                                        animals
                                                      research
                        Perform custodial or trades                                                                                                                                  Employee Health
                        work that may expose the                                                                        TMS Assessment                                                203-432-0071
                                                      Ensure that respirator use          Federal:                                                            Clinic visit or
                        employee to harmful                                                                             Questionnaire or                                            fax 203-432-7828
   Respirator Exam                                    doesn't cause medical harm to       -OSHA Standard 20 CFR                                   One-time    surveillance
                        airborne hazards (e.g.                                                                          assigned by Employee
                                                      the individual                      1910.134                                                            form
                        Grounds, Custodial,                                                                             Health                                                      employeehealth-
                        Glazers, Horticulturalists)                                                                                                                                business@yale.edu
                                                                                                                                                                                    Employee Health
                         Provide patient care or
                                                                                                                        TMS Assessment                                               203-432-0071
                         clinical services that may  Ensure that respirator use           Federal:                                                            Clinic visit or
                                                                                                                        Questionnaire or                                           fax 203-432-7828
   Respirator Exam       expose the employee to      doesn't cause medical harm to        -OSHA Standard 20 CFR                                   One-time    surveillance
                                                                                                                        assigned by Employee
                         harmful airborne infectious the individual                       1910.134                                                            form
                                                                                                                        Health                                                      employeehealth-
                         agents
                                                                                                                                                                                   business@yale.edu
                                                                                                                                                                                 Environmental Health &
                       Perform clinical work that Reduce risk of inhalation                                             TMS Assessment                                                   Safety
                                                                                  Federal:                                                                    Instructor-led
Respiratory Protection may expose the employee to exposure to airborne infectious                                       Questionnaire or           Annual                             203-785-3211
                                                                                  OSHA 29 CFR 1910.134                                                        training
                       airborne infectious agents agents.                                                               assigned by EHS
                                                                                                                                                                                 safetytraining@yale.edu
                                                                                                                                                                                 Environmental Health &
                       Perform non-clinical work
                                                                                                                        TMS Assessment                                                     Safety
                       that may expose the             Reduce risk of inhalation          Federal:                                                            Instructor-led
Respiratory Protection                                                                                                  Questionnaire or           Annual                             203-785-3211
                       employee to airborne            exposure to airborne hazards.      OSHA 29 CFR 1910.134                                                training
                                                                                                                        assigned by EHS
                       hazards
                                                                                                                                                                                 safetytraining@yale.edu
                                                                                                                                                                                     Employee Health
                                                       -Protect employees                 Federal:                                                                                    203-432-0071
                                                                                                                                                              Certify
                         Provide patient care or       -Protect patients                  CDC                             TMS Assessment                                            fax 203-432-7828
  Rubella Immunity                                                                                                                                One-Time    immunization or
                         perform clinical services     -Prevent incidences of Rubella     http://www.cdc.gov/vaccines/aci Questionnaire
                                                                                                                                                              immunity
                                                       in the community                   p/recs/                                                                                   employeehealth-
                                                                                                                                                                                   business@yale.edu

                                                                                                                                                              Online training:
                                                                                                                        Automated assignment
                         Work in an area or                                                                                                                                     Environmental Health &
                                                       Reduce risk of injury or                                         to principal
  Shipping & Export      department where                                                                                                                     https://ehs.yale.           Safety
                                                       exposure to individuals and    Federal:                          investigators,
   Controls General      research/clinical materials                                                                                              One-Time    edu/trainings/sh       203-785-3211
                                                       general population, and reduce 49 CFR 172.800                    researchers, clinicians
      Awareness          are used, shipped from,                                                                                                              ipping-export-
                                                       environmental impact                                             and administrative
                         ordered or stored                                                                                                                    controls-general- safetytraining@yale.edu
                                                                                                                        personnel.
                                                                                                                                                              awareness




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                                                         Reason for Requirement            Reference, Regulation or                                          To Fulfill the
    Requirement                  Activity                                                                                 How Assigned        Frequency                         Requirement Owner
                                                                 (WHY)                             Policy                                                    Requirement

                       Ship human or animal
                       materials (including those                                                                                                           Online training:
                       that may harbor an                                                                                                                                    Environmental Health &
                                                      Reduce risk of injury or
                       infectious agent, except                                                                                                            http://ehs.yale.e           Safety
 Shipping Biological                                  exposure to individuals and    Federal:
                       Risk Group 4 and Select                                                                        Assigned by EHS        Every 3 years du/trainings/shi       203-785-3211
Substances, Category B                                general population, and reduce 49 CFR 172 Subpart H
                       Agents, which are Category                                                                                                          pping-biological-
                                                      environmental impact
                       A) or recombinant DNA                                                                                                               substances-       safetytraining@yale.edu
                       materials that can infect                                                                                                           category-b
                       cells, but not cause disease


                                                                                                                                                            Online training:   Environmental Health &
                                                      Reduce risk of injury or
                                                                                                                                                                                       Safety
                        Ship non-hazardous            exposure to individuals and    Federal:
   Shipping Dry Ice                                                                                                   Assigned by EHS        Every 3 years http://ehs.yale.e        203-785-3211
                        materials on dry ice          general population, and reduce 49 CFR 172 Subpart H
                                                                                                                                                           du/trainings/shi
                                                      environmental impact
                                                                                                                                                           pping-dry-ice       safetytraining@yale.edu


                                                                                                                                                            Online training:
                       Ship cultures or stocks of                                                                                                                            Environmental Health &
                                                      Reduce risk of injury or
                       human or animal pathogens,                                                                                                          http://ehs.yale.e           Safety
  Shipping Infectious                                 exposure to individuals and    Federal:
                       or genetically modified                                                                        Assigned by EHS        Every 3 years du/trainings/shi       203-785-3211
Substances, Category A                                general population, and reduce 49 CFR 172 Subpart H
                       organisms meeting the                                                                                                               pping-infectious-
                                                      environmental impact
                       definition of a pathogen.                                                                                                           substances-       safetytraining@yale.edu
                                                                                                                                                           category-a


                                                                                                                                                            Online
                                                                                                                                                            training:

                                                                                                                                                            http://assessm
                                                      Ensure that the proposing of
                                                                                         University:                                                        ent-               Office of Research
                                                      sponsored award funds and                                       Manually assigned by
                                                                                         -Policy 1310, Principal                                            module.yale.e        Administration
  Sponsored Projects Listed as PI or co-PI on a       expenditure of those funds is in                                OSP or automated
                                                                                         Investigator Eligibility                              One-time     du/research-         203-785-2744
Administration Training research proposal             accordance with University,                                     assignment from IRES
                                                                                         Requirements on Sponsored                                          administration
                                                      sponsor, and regulatory                                         System
                                                                                         Projects                                                                           researchadmin@yale.edu
                                                      requirements.                                                                                         /sponsored-
                                                                                                                                                            projects-
                                                                                                                                                            administration-
                                                                                                                                                            training-yale-
                                                                                                                                                            faculty




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                                                         Reason for Requirement             Reference, Regulation or                                               To Fulfill the
    Requirement                   Activity                                                                                  How Assigned            Frequency                         Requirement Owner
                                                                 (WHY)                              Policy                                                         Requirement

                                                                                                                                                                 Online training:

                                                      Ensure understanding of the                                                                                https://bmsweb.
                                                                                        University:                                                                                   Office of the General
 Standards of Business Employed as Yale faculty       ethical and legal principles that                                 Automated assignment                     med.yale.edu/tm
                                                                                        -Yale Standards of Business                                  One-time                               Counsel
       Conduct         or staff                       apply when carrying out the                                       to all faculty and staff                 s/tms enrollmen
                                                                                        Conduct                                                                                          203-432-4949
                                                      work of the University.                                                                                    ts.offerings?p_c
                                                                                                                                                                 rs id=2509&p
                                                                                                                                                                 std id=#

                                                                                                                                                                                        Employee Health
                                                                                                                                                                                         203-432-0071
                                                                                                                        Assigned by Office of                    Provide
                         Enter a non human primate Prevent illness in laboratory                                                                                                       fax 203-432-7828
    TB Screening                                                                          University:                   Animal Research               Annual     documentation
                         facility                  animals.
                                                                                                                        Support                                  of test results
                                                                                                                                                                                        employeehealth-
                                                                                                                                                                                       business@yale.edu
                                                                                                                                                                                        Employee Health
                                                                                                                                                                                         203-432-0071
                                                                                                                        Assigned by Office of                    Provide
                         Handle, care for, or use non Prevent illness in laboratory                                                                                                    fax 203-432-7828
    TB Screening                                                                          University:                   Animal Research               Annual     documentation
                         human primates               animals.
                                                                                                                        Support                                  of test results
                                                                                                                                                                                        employeehealth-
                                                                                                                                                                                       business@yale.edu
                                                                                                                                                                                        Employee Health
                                                                                                                                                                                         203-432-0071
                                                      -Protect patients              Federal:                                                                    Provide
                         Provide patient care or                                                                        TMS Assessment                                                 fax 203-432-7828
    TB Screening                                      -Prevent incidences of         -OSHA CPL 2.106                                                 One-time    documentation
                         perform clinical services                                                                      Questionnaire
                                                      Tuberculosis in the community. -OSHA 29 CFR 1910.1030                                                      of test results
                                                                                                                                                                                        employeehealth-
                                                                                                                                                                                       business@yale.edu
                                                                                                                                                                                        Employee Health
                                                                                     Federal:                                                                     Provide                203-432-0071
  Tetanus-diphtheria     Handle, care for, or use live Reduce incidences of Tetanus- CDC                             TMS Assessment                               documentation        fax 203-432-7828
                                                                                                                                                   Every 10 years
      Immunity           vertebrate animals            diphtheria.                   http://www.cdc.gov/vaccines/aci Questionnaire                                of immunization
                                                                                     p/recs/                                                                      or immunity           employeehealth-
                                                                                                                                                                                       business@yale.edu
                                                                                                                                                                 Online training:
                                                                                                                                                                                     Environmental Health &
                                                                                    Federal:
                                                                                                                        TMS Assessment                                                       Safety
                         Provide patient care or      Prevent incidences of         -OSHA CPL 2.106                                                              http://ehs.yale.e
Tuberculosis Awareness                                                                                                  Questionnaire or             One-time                             203-785-3211
                         clinical services            Tuberculosis in the community (Tuberculosis)                                                               du/trainings/tb-
                                                                                                                        Assigned by EHS
                                                                                    -OSHA 29 CFR 1910.1030                                                       exposure-
                                                                                                                                                                                     safetytraining@yale.edu
                                                                                                                                                                 control
                                                                                                                                                                                        Employee Health
                                                                                          Federal:                                                                                       203-432-0071
   Vaccinia Medical      Handle vaccinia virus in a                                       CDC                             TMS Assessment                                               fax 203-432-7828
                                                      Reduce risk of illness.                                                                        One-time    Clinic visit
       Consult           laboratory                                                       http://www.cdc.gov/vaccines/aci Questionnaire
                                                                                          p/recs/                                                                                       employeehealth-
                                                                                                                                                                                       business@yale.edu




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                                                      Reason for Requirement            Reference, Regulation or                                         To Fulfill the
    Requirement                  Activity                                                                               How Assigned        Frequency                      Requirement Owner
                                                              (WHY)                             Policy                                                   Requirement
                                                                                                                                                                              Employee Health
                                                                                      Federal:                                                                                 203-432-0071
                       Handle, care for, or use
   Vaccinia Medical                                                                   CDC                             TMS Assessment                                         fax 203-432-7828
                       animals infected with       Reduce risk of illness.                                                                  One-time    Clinic visit
       Consult                                                                        http://www.cdc.gov/vaccines/aci Questionnaire
                       vaccinia
                                                                                      p/recs/                                                                                employeehealth-
                                                                                                                                                                            business@yale.edu
                                                                                                                                                                             Employee Health
                                                   -Protect employees                 Federal:                                                                                203-432-0071
                                                                                                                                                        Certify
                       Provide patient care or     -Protect patients                  CDC                             TMS Assessment                                        fax 203-432-7828
  Varicella Immunity                                                                                                                        One-Time    immunization or
                       perform clinical services   -Prevent incidences of Varicella   http://www.cdc.gov/vaccines/aci Questionnaire
                                                                                                                                                        immunity
                                                   in the community                   p/recs/                                                                                employeehealth-
                                                                                                                                                                            business@yale.edu
                                                                                                                 Automated assignment
                                                                                                                 to Faculty, staff and
                                                                                                                 students in:
                      Hold a primary
                                                                                                                 School of Medicine
                      appointment in the
                                                                                                                 (excluding School of                   Complete
                      following HIPAA Covered
                                                                                                                 Public Health, Animal                  attestation:
                      departments: School of                                                                                                                              ITS Information Security
                                                                                  Federal:                       Resources Center, and
                      Medicine (excluding School Protect the privacy and security                                                                                                  Office
Yale University HIPAA                                                             -Health Insurance Portability  basic science                          https://bmsweb.
                      of Public Health, Animal    of electronic protected health                                                             Annual
      Attestation                                                                 and Accountability Act of 1996 departments);                          med.yale.edu/tm
                      Resources Center, and basic information (ePHI).                                                                                                    information.security@yale.
                                                                                  (HIPAA), Section 164.308(a)(5) Physician Associate                    s/tms_enrollmen
                      science departments);                                                                                                                                         edu
                                                                                                                 Program; School of                     ts.offerings?p c
                      School of Nursing; or
                                                                                                                 Nursing;Yale Health;                   rs id=2448
                      Department of Psychology
                                                                                                                 Department of
                      (clinics only)
                                                                                                                 Psychology (clinics
                                                                                                                 only); Benefits Office
                                                                                                                 staff.
                                                                                                                  Automated assignment
                                                                                                                  to Faculty, staff and
                      Work in a HIPAA Covered
                                                                                                                  students in:
                      department, which
                                                                                                                  School of Medicine
                      include(School of Medicine                                                                                                        Complete
                                                                                                                  (excluding School of
                      (excluding School of Public                                                                                                       attestation:
                                                                                                                  Public Health, Animal                                   ITS Information Security
                      Health, Animal Resources                                     Federal:
                                                  Protect the privacy and security                                Resources Center, and                                            Office
Yale University HIPAA Center, and basic science                                    -Health Insurance Portability                                        https://bmsweb.
                                                  of electronic protected health                                  basic science              Annual
      Attestation     departments);                                                and Accountability Act of 1996                                       med.yale.edu/tm
                                                  information (ePHI).                                             departments);                                          information.security@yale.
                      Physician Associate                                          (HIPAA), Section 164.308(a)(5)                                       s/tms_enrollmen
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                      Nursing; Yale Health;                                                                                                             rs id=2448
                                                                                                                  Nursing;Yale Health;
                      Department of Psychology
                                                                                                                  Department of
                      clinics; or Benefits Office
                                                                                                                  Psychology clinics; and
                                                                                                                  Benefits Office.




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                                            Case 3:20-cv-00133-JCH Document 94-10 Filed 05/12/20 Page 30 of 80
                                                       Reason for Requirement           Reference, Regulation or                                   To Fulfill the
    Requirement                  Activity                                                                              How Assigned   Frequency                      Requirement Owner
                                                               (WHY)                            Policy                                             Requirement

                      Hold a secondary
                      appointment in the
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                      following HIPAA Covered
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                      departments: School of                                                                                                                        ITS Information Security
                                                                                      Federal:
                      Medicine (excluding School Protect the privacy and security                                                                                            Office
Yale University HIPAA                                                                 -Health Insurance Portability  TMS Assessment               https://bmsweb.
                      of Public Health, Animal    of electronic protected health                                                       Annual
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                      School of Nursing; or
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                      Department of Psychology
                      (clinics only)



                      Provide technical (e.g. ITS)
                      or administratvie support or
                      oversight to a HIPAA
                      covered department that
                      may review viewing or
                      accesssing protected health
                                                                                                                                                  Complete
                      information (PHI). (HIPAA
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                      include the School of        Protect the privacy and security                                                                                          Office
Yale University HIPAA                                                                 -Health Insurance Portability  TMS Assessment               https://bmsweb.
                      Medicine (excluding School of electronic protected health                                                        Annual
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                      EXHIBIT 3




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1105 Retention of University
Financial Records
Responsible Official: Controller
Responsible Office: Finance
Effective Date: November 1, 2000
Revision Date: November 1, 2000

Policy Sections
    1105.1 Administrative Responsibility
    1105.2 Ownership of Institutional Records
    1105.3 Retention Periods, Storage and Disposition
    1105.4 Accessibility of Records
    1105.5 Safeguarding Records
    1105.6 Use of Document Imaging
    1105.7 Records Related to Grants and Contracts

Scope
This policy provides guidelines for retention of official University financial
records, including payroll and related records. It applies to all University
departments and offices, all University financial records and all University
employees who create, receive or maintain such records in the course of
University business.

This policy does not address the retention of student academic records, patient
medical records, or any other area of operations outside the University’s
financial administration. Consult the appropriate University office for further
information about those areas.

Policy Statement
The University Controller is responsible for setting the standards for retention
and management of University financial records, in collaboration with major
business process owners. Such records must be retained for a period of time
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necessary to meet the operational, administrative and legal requirements of
the University, and must then be destroyed according to established
destruction schedules. The Department of Manuscripts and Archives (referred
to hereafter as MSSA), a unit of the University Library, manages the University
Archives and Records Program and maintains official retention and disposition
schedules. (See Index of the Records Schedules posted on the University
Archives and Records Program web site.)

Records retention and disposition schedules apply to records of all formats,
including paper records, computer files (e-mail, word-processed documents,
spreadsheets, databases, and materials in imaging systems). The University
encourages the use of storage methods that eliminate waste, reduce cost and
promote efficiency.

Most financial and transactional records are non-archival. However, MSSA
may determine that certain categories of financial records are of permanent
value to the University, and will arrange for appropriate storage of such records
beyond their active period.

Financial records must be retained for a minimum of seven (7) years from the
fiscal year of creation, unless the retention schedule specifically states
otherwise, as is the case with records related to grants and contracts (see
Section 1105.7). It may be necessary to retain certain non-archival records for
a period longer than seven (7) years if they are required to support an audit,
litigation or other matter.

Those who give final approval to financial transactions must identify, safeguard
and retain the official or “record” copies of documents supporting those
transactions. Therefore, department administrators who have been delegated
approval authority for certain kinds of transactions are responsible for the
original records related to those transactions. Duplicate records must be
eliminated to the extent possible.

University records must be maintained in a manner that supports operational
needs and internal control directives, and must also meet federal, state and
regulatory requirements. Document retention standards and systems must
ensure that transactions and related authorizations are fully supported in the
event of an audit, litigation, or other external action.

Departments must follow guidelines and standards issued by MSSA and the
Office of the Controller in support of this policy.
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Reason for the Policy
This policy seeks to:

    promote compliance with federal, state, and other legal requirements for
    record retention;
    promote the efficient management, sharing, and transfer of information
    among authorized University staff within prescribed security standards;
    effectively utilize limited office space for active records and utilize low-cost,
    remote storage space for inactive records;
    dispose of records no longer needed to satisfy legal, regulatory or other
    requirements:
    ensure that no record is disposed of unless authorized;
    ensure that the means of destruction is appropriate for the type of record
    under consideration;
    ensure the preservation of records of permanent value; and
    ensure that record retention policies, schedules and procedures are
    reviewed and modified as necessary to respond to changes in technology
    or regulations

Definitions
Active records

Records needed to support the current business activity of a department,
division, business support center, or institutional business office.

Business process

A series of related activities designed to accomplish a specific objective (e.g.,
collecting and depositing university funds, payment of invoices, etc).

Distributed authority model

An operational model pursuant to which authority for the approval of certain
transactions and the retention of active, original paper records may be
distributed to department business offices, business support centers, or other
decentralized units by institutional business process owners.

Inactive records
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Records for which the active period has passed, and which are being held for
the remainder of the specified retention period.

Permanent (archival) records

Records that have long-term or permanent value to the University, such as
endowment indentures, University Bylaws, deeds, continuing agreements with
external parties, and other similar documents.

Records custodian

An individual assigned by a records manager to formally retain paper
documents pursuant to established standards and systems.

Records manager

An individual appointed by the responsible official to oversee the administration
of records management systems (both paper and electronic) for an established
business process.

Records retention and disposition schedule

An internal control document that indicates how records should be handled
after the period of their active administrative use.

Responsible official

A senior member of management who serves as the owner of institutional and
divisional business processes, and, as such, is responsible for ensuring
effective implementation of this policy in his/her assigned area of responsibility.

Retention period

The minimum required length of time for which a department or central
administrative office is responsible for the maintenance of records.

Policy Sections
1105.1 Administrative Responsibility

The Controller, in accordance with Policy 1101 Guiding Principles for Business
and Financial Administration, is responsible for developing document retention
policies and standards for financial records, and for monitoring compliance with
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this policy and overseeing the quality, consistency and effectiveness of the
University’s financial records management systems. The Controller shall
perform such functions in consultation with members of the University’s
Financial Records Retention Committee, and may convene meetings of the
committee as appropriate.

The committee membership will include a representative from each of the
following offices: General Counsel, Tax, Grant and Contract Administration
(University and Medical School), Human Resource Services, Information and
Technology Services, Manuscripts and Archives, Procurement In addition, the
membership will include records managers assigned for each major business
process, the manager of Traffic Receiving and Stores, records custodians from
business support centers, and representative departmental administrators.

The Controller, in consultation with the Financial Records Retention
Committee, shall:

  1. review recommended records retention schedules;
  2. establish appropriate filing standards for financial records;
  3 monitor disposition methods and practices;
  4. evaluate cost-effective short- and long-term storage options (including
     electronic media), and
  5. perform other records management oversight functions as required.

For each of the University’s major business processes, a responsible
official, typically a senior member of management, serves as the institutional
owner of the business process and monitors the effective implementation of
this policy in the related areas of responsibility. Listed below are the
responsible officials for major University business processes


Responsible Official                      Business Process


Associate Vice President for
                                          • Payroll
Administration
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Responsible Official                     Business Process


                                         • Gifts to the University

                                         • Sponsored Agreements

                                         • Treasury Services

                                         • Procurement
Associate Vice President for Finance
                                         • General Accounting (including
                                         Capital Project Accounting and
                                         Financial Reporting

                                         • Budget and Planning

                                         • Financing


Chief Operating Officer, School of       • Medical Services School of
Medicine                                 Medicine


Chief Investment Officer, Investments
Office, and Associate Vice President • Investments
for Finance


                                         • Medical Services: University Health
Director of University Health Service
                                         Service


Associate Vice President for Student • Student Financial and Administrative
Financial and Administrative Services Services


Records managers, who are appointed by each responsible official, directly
supervise the development of specific record retention schedules for their
respective areas Working with the Controller, the records manager also
supervises the implementation and quality assurance of records management
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systems and procedures for paper and electronic records stored in department
business offices, divisional and institutional business offices, and business
support centers.

The records manager in turn appoints one or more records custodians who
are responsible for retaining record copies of documents according to
established standards and systems. Records custodians may reside in
institutional business offices, business support centers or department business
offices, depending upon the level of distributed authority granted for specific
types of transactions

Note: In the event that original or “record” copies of documents are maintained
in department business offices, the department administrator or business
manager must serve as the records custodian for those documents. The
responsible individual must be able to locate paper documents required for
quality assurance assessments, audits and other internal and external reviews
at the request of the Controller, Tax Director, Director of University Auditing,
institutional business process owner or other authorized individuals.

1105.2 Ownership of Institutional Records

University financial records are the property of the University and do not
belong to those who prepare such records or to their official custodian. No
employee has any personal or property right to financial records of the
University, including those records that the employee helped develop or
compile, and no employee may remove or copy such records for personal use.

1105.3 Retention Periods, Storage and Disposition

Retention Periods

Financial record schedules are primarily calendar-driven; that is, the retention
period begins on the last day of the fiscal year that the records were created.

The retention period for University tax documents generally begins on the filing
date for that period However, the retention period for ta returns, as well as for
records which support tax filings, will not begin until either the due date of the
filing or the actual date filed, whichever is later.

Record Retention Categories
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Records fall into one of the three record retention categories

  1. archival records (permanent);
  2. non-permanent records requiring retention for legal or audit purposes; and
  3. routine administrative records.

The University maintains functional retention and disposition schedules,
grouping together records that represent the component activities of
processes. Whenever a document or group of documents has a retention
schedule that differs from the seven-year norm, it is noted on the schedule.
(Refer to Inde of the Records Schedules on the University Archives and
Records Program web site.)

Active records are those needed to support the current business activity of a
department, division, business support center, or institutional business office.
Normally, the active period for financial records ends on the last day of the
fiscal year following the fiscal year in which the records were created. For
instance, a record created on November 20, 1999, ends its active period on
June 30, 2001.

Storage Standards and Locations

At the end of the active period, records must be labeled and stored for the
balance of the retention period according to University guidelines and
procedures.

The records custodian is responsible for appropriately labeling and arranging
for suitable storage of inactive records The University’s dedicated records
shelving facilities are the preferred locations for storage of record copies of
non-archival financial records that require retention beyond their active lives.
Arrangements for storage at these facilities must be made through the MSSA
Archives and Records Program It may be acceptable to store inactive financial
records at other official campus facilities, with professional records
management service vendors, or in the originating department, if suitable
space is available that meets University standards.

Regardless of where inactive records are stored, the originating department is
responsible for maintaining files or logs describing the contents of stored
records, and for retrieving records upon official request. Consult record
retention procedures for detailed guidelines.

Disposition of Records
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At the end of the appropriate retention period, inactive records, including
transaction records, inactive agreements and other non-permanent records,
shall be destroyed according to the applicable schedule. Departments must
obtain authorization for such disposal from MSSA. The disposal process and
methods should preserve the confidentiality of documents through the final
point of disposition. Records containing personal and confidential information
must be shredded or boxed and sent to the recycle center for disposal. MSSA
assists departments in arranging for confidential destruction of records. Non-
confidential paper records may be put into recyclable containers

If litigation is pending, threatened or anticipated, records bearing on such
litigation must not be destroyed except by permission of the University’s
General Counsel. Similarly, documents under audit must not be destroyed.
General Counsel and officials notified of audit requirements will regularly
update the Records Retention Committee with information about pending
litigation or audits that require special attention. The Controller is responsible
for notifying records managers of any changes from the standard record
retention period necessitated by audits or litigation

1105.4 Accessibility of Records

Financial records must be easily retrievable for examination by authorized
departmental and central administrators, auditors and other authorized
individuals. Records custodians must follow procedures for labeling and
record-keeping to ensure that documents can be retrieved in a timely manner,
and are responsible for retrieving records upon request. Use of the MSSA
Archives and Records Program and its systems is the preferred method to
ensure compliance with this requirement.

Access to electronic records shall be subject to the University’s policy
governing information access and security (Policy 1601). Records managers,
in consultation with ITS professionals, are responsible for ensuring that
electronic records are not rendered unusable because of changing technology
or deterioration. Records in formats endangered by technology changes must
be migrated to other formats in order to maintain accessibility.

1105.5 Safeguarding Records

The records custodian is responsible for ensuring that active and inactive
financial records are stored in a secure location. The storage location must
provide appropriate confidentiality and protection from unauthorized inspection,
theft, and physical damage due to a fire, water or natural disaster. The records
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custodian must use sound judgment in restricting access to financial records,
giving consideration to the degree of confidentiality warranted for such records.
Storage through the MSSA Archives and Records Program is deemed to meet
these requirements.

Most permanent (archival) records must be transferred to the MSSA Archives
and Records Program following their active period for proper care and storage.
Permanent records not sent to the MSSA Archives and Records Program must
be maintained in a fireproof container, and access must be limited to
authorized personnel

1105.6 Use of Document Imaging

Document imaging may be the most effective and efficient means for retaining
certain types of records However, any department that is contemplating
replacing original financial documentation with images of those records must
consult the Controller prior to implementing such a system. General Counsel
should review proposals for such systems with the Controller and specify areas
of concern The Controller is responsible for issuing guidance to departments
with regard to such implementations.

Departments proposing such systems must be prepared to demonstrate that
the following requirements would be met:

  1 Electronic records must e hibit a high degree of legibility and readability;
  2. Paper copies or computerized books and records must be transferred to
     electronic storage media in an accurate and complete manner;
  3. Procedures must be developed to index, store, preserve, retrieve, and
     reproduce all electronically stored books and records;
  4. Controls must be developed to ensure the integrity, accuracy, and
     reliability of the electronic records;
  5. Controls must be developed to prevent and detect the unauthorized
     creation, alteration, addition, deletion, or deterioration of electronically
     stored books and records; and,
  6. An inspection and quality assurance program must be developed which
     must include regular evaluations of the system and periodic checks of
     stored books and records

If imaging systems that meet the above requirements are implemented,
original paper records only need to be retained through the active period as
defined in Section 1105.3.
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1105.7 Records Related to Grants and Contracts

Records related to grants and contracts must be retained for a period of three
(3) years from the date of the submission of the final financial report to the
funding agency, unless the terms of the award specifically state otherwise, or if
there is a pending audit or litigation matter.

Retention periods for such records vary widely depending upon the sponsoring
agency and individual contract terms. For example, when the University
accepts a federal grant or contract it enters into a binding agreement that
requires it to apply federal disposition schedules to records pertaining to such
awards. However, non-federal agencies may apply a different set of standards
for record retention and in those cases it is best to refer to the agreement itself
for retention requirements In any case where the sponsoring agency’s
retention period is longer than that dictated by University policy, the longer
period shall apply.

Departments and business support centers are strongly encouraged to consult
the offices of Grant and Contract Administration (University and School of
Medicine) to determine the appropriate retention period for records related to
specific grants or contracts. Prior to destruction, department administrators
must consult the Office of Grant and Contract Financial Administration to
ensure that the records are not related to pending audits or litigation

Special Situations/Exceptions
Exceptions to this policy must be approved by the Controller.

Roles and Responsibilities
Controller

Establishes policies and standards for retention of financial records, ensures
compliance with this policy, and oversees the quality, consistency, and
effectiveness of the University’s financial records management systems as
described in Section 1105.1 of this policy, in consultation with the University’s
Financial Records Retention Committee.

Financial Records Retention Committee
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Provides guidance to the Controller in ensuring compliance with this policy, and
in overseeing the quality, consistency, and effectiveness of the University’s
financial records management systems.

General Counsel

Provides guidance to the Yale community regarding the legal requirements for
the retention and destruction of records, particularly in those areas where
litigation is pending, threatened or possible, and shall review proposals for
electronic retention in place of originals.

Department of Manuscripts and Archives (MSSA)

Sets standards generally for University records retention and manages the
University’s records retention facility.

Records Custodian

Retains financial records according to University policies and procedures, and
for ensuring that such records are retrievable upon authorized request, as
outlined in Section 1105.1 of this policy.

Records Manager

Implements this policy as it relates to his or her area(s) of responsibility in
accordance with the duties outlined in Section 1105.1 of this policy

Responsible Official

Monitors the effective implementation of this policy for the specific business
process areas for which he/she is assigned ownership. The responsible official
shall appoint one or more records managers to implement the record retention
policy at the departmental level.

Tax Department

Reviews retention schedules and notifies the Controller of necessary changes
based on regulations.


Source URL: https://your.yale.edu/policies-procedures/policies/1105-retention-
university-financial-records
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                      EXHIBIT 4




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                      EXHIBIT 5




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                      EXHIBIT 6




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                      EXHIBIT 7




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                               Acknowledgments




       My 2017 American Economic Association (AEA) presidential address,
       “Narrative Economics,” was published in the April 2017 issue of the as-
       sociation’s journal, the American Economic Review. Many passages from
       that presidential address have found their way, often with modifications,
       into this book.
          This book is strongly influenced by two books I wrote with George
       Akerlof, Animal Spirits (2009) and Phishing for Phools (2015). Another
       strong influence is the book George Akerlof wrote with Rachel Kranton,
       Identity Economics (2011). Narratives play a role in all these books. Work-
       ing with George aided my thinking immeasurably.
          The research that underlies this book has taken place over decades. I
       acknowledge research support over the years from the US National Sci-
       ence Foundation, the Cowles Foundation for Research in Economics
       at Yale University, the Smith Richardson Foundation, the Whitebox
       Foundation via the Yale School of Management, and the James Tobin
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          I thank participants in seminars at which I presented earlier versions
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       versity and as seminars at the Bank of England, at the Toulouse School
       of Economics/Toulouse Institute for Advanced Study, and at the Yale
       University Department of Economics. Special thanks go to Bruce Ack-
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       Farouk Jivraj, Dasol Kim, Rachel Kranton, Arunas Krotkus, Naomi
       Lamoreaux, Terry Loebs, Ramsay MacMullen, Peter Rousseau, Paul
       Seabright, John Shiller, Thomas Siefert, and Sheridan Titman.
          Peter Dougherty, who stepped down in 2017 as director of Princeton
       University Press and is now editor at large, has been a formative

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                               xxii   Ack now l e dgm e n ts

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                                  CERTIFICATE OF SERVICE


        I certify under penalty of perjury that I sent a true and correct copy of the attached Requests
for Admissions, together with all attachments and exhibits, by email on May 8, 2020 to the
attorneys of record for all of the parties in this action at the addresses listed below:

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